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                 L J^K\nxV\^ok                                                                    \2.l{'Z^ll'J
         IS'Oo
^LLL                                                                        i




                              Ue£X<-                      u
                                                                 VJck-V Sow

                 ^ ^ J.          ast.              v|ejfj -Co^ \t.Vvit.VVC_C. - \_                Ucxvlt.
                                      l/v\£i/c A'Uart             -\-ijJC. V|-fcl/'S     -V-vuv    iMoW-i-U?
''



                         L\ci^Ac.V\'^^ \w AViC                  Cftoi\\N^                 Oj'AVftotrV ^OwV\<^l«A"
                 OaA      -C-C-csL        ixl'T.     JL        VjOooVI          hk-C.   A-o                  «>wV\
                 \Ac*X -VVv«x\- \S Covw^W.-\e.\v| AisJh anl
                      SsVovJ lA lo«_ "5^e'^r»Mr>\-P^ ^^ViO/V •A^Ae>^lCl JA iL <1^/V"
                 l.jJatA"V •Ao l-ejQxslC. VAA.-"! Cc3UA,'W>^ CUA.A.                                           ^LtA
     »

                 'XT A-AiW X^'xevje. X Aoa-V                                     AeStPsI^- 'PcxS>ow
                 CxA- e\H.         \k]c»A"SoA                                       ^o-S l>t_-e.w lAo
                 VVcXxTVAA \>^ -^V-e q/'SCc. o                              AUc- larA ckc(\A XL
                 Wo.vI«- \>^<_w                                 C.or.^«.rA-:vc Sa vt ."VWe.
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                 IkJaoU. <^<_Ar              -exJ t<•\lt>v^€3S             V\<o,f\s       o^r -ecxSc,
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                        Vv.awov'              'X-            *
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                 A-or cv A^flvxj          \ac^^ VolVv^ Coc                                                  c^wA
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jCQOO"




                                                                       V^lcA.'Wo'a
         T^ir I \-                 ^-o*'o\/l
                                        jVA            \.'Xlc -Icb "DjjAi
                                                       Lits—_dts—^\i-V—ivs                       ^                   avs


                   C-e t/WOvJ                      ^L^cyWV. ^\A«xVAA.<av^S                         Cx^ <M,V^
                 rwetf       J.             "C'lfg-A        W«vv                         v-v^g--€-V— • c-<.\\^<k
                                   t/v.e   ir          lV           ^htk.       wy.'g.         "VV-t. "V-^fvwtw^^i
         (j)a^-pr<. ic< WAV 4ft                                        Q-^-C, ReS^ccMcolY 1, wo
          \«»A       UJCLA   •\-            VtWA       OA                 Coo»^C-t.V ^ Vt.              OVX^ H.
         MS= tA.O^                   C^V^m/v»C«.Xcv>^ Vn\C. t
                                                                 S>'itfVCcrlvf |iV-><^l<'«s.V\ AA. qyi^
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